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                Exhibit E
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                Résumé of the Law Offices of Jan Meyer and Associates, P.C.

Law Offices of Jan Meyer and Associates, P.C. has been providing clients with quality legal
services for over seventeen years. Founder and senior counsel Jan Meyer opened a solo legal
practice with offices located in both New York and New Jersey. Beginning as a general civil
litigation and Subrogation practice, Jan Meyer built his experience upon providing clients with
dedicated service and quality results. The firm expanded into new practice areas including
commercial and residential real estate transactions, insurance subrogation, complex litigation,
corporate law and defense litigation services.

The firm now includes a full team of nine attorneys, four paralegals, law clerks and support staff.
The Main office of Jan Meyer and Associates, P.C. operates in the bustling community of
Teaneck, NJ, convenient to the entire NY/NJ region, along with a branch in Midtown Manhattan.
All attorneys are admitted in both New York and New Jersey.

Our practice has grown due to our high quality legal services, delivered in a timely and efficient
manner. We value our client relationships and do our utmost to provide consistent and excellent
service. Clients at Jan Meyer and Associates understand that our relationship is paramount and
they can expect quality service in every legal area.

JAN MEYER, ESQ.
Founder and senior counsel

Our founder and senior counsel, Jan Meyer, Esq., has extensive experience in subrogation law,
civil and complex commercial litigation as well as real estate law. In addition to representing his
clients and managing the day-to-day operation of the firm, he is a frequent speaker on the subject
of Insurance issues, subrogation and international business law, particularly as it relates to the
introduction of foreign companies into the US and US companies into foreign markets.

Mr. Meyer has tried many cases before many courts, both Jury and bench trials.

Prior to beginning his legal career in 1994, M r. Meyer ran his own commercial enterprise-an
experience that has made him particularly effective representing commercial clients.

Mr. Meyer was a former member of the Board of Directors and the general counsel for TDC
Carrier Services USA, a subsidiary of a Danish-based telecommunications corporation, a former
member of the Board of Trustees for Barnert Hospital in Paterson, NJ, a board member for a
private international real estate company, a vice-chair of the Teaneck Zoning Board of
Adjustment and an active member of the Bergen County Bar Association. Mr Meyer is also
involved as a volunteer in providing local ambulance services on a weekly basis and is a New
Jersey licensed EMR.

A native of Denmark, Mr. Meyer speaks seven languages and has an advanced degree in
business from a renowned European business school as well as his Juris Doctor. Mr. Meyer is a
member of the Bar admitted to practice before courts New York, New Jersey, District of



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Columbia, District of New Jersey, U.S. Supreme Court, U.S. Court of Federal Claims, U.S. Court
of Appeals for the Armed Forces, and the U.S. Court of Appeals for the Federal Circuit.




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